 1                TWENTY-NINTH JUDICIAL DISTRICT COURT
 2                           PARISH OF ST. CHARLES
 3                            STATE OF LOUISIANA
 4
 5                   IN RE JPSO ITEM NO. A-15489-20
 6
 7   CASE NO.:     20-0042                             DIVISION "E"
 8
 9                   THE HONORABLE TIMOTHY S. MARCEL
10                                   JUDGE
11
12       Transcript of the proceedings taken in Open Court at
13          Hahnville, Louisiana, on February 6, 2020.
14
15                              MOTION TO QUASH

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20   APPEARANCES:
21               REPRESENTING DAREN AND DONNA PARSA:
22               WILLIAM B. MOST, ESQ.
                 AMANDA L. HASS, ESQ.
23
24               REPRESENTING ST. CHARLES PARISH SHERIFF'S
                 OFFICE:
25
                 STEVEN M. MAUTERER, ESQ.
26
27               REPRESENTING JEFFERSON PARISH SHERIFF'S OFFICE:
28               LINDSEY M. VALENTI, ESQ.
29
30   REPORTED BY:     WANDA VICE-LOUPE, CCR
                      Official Court Reporter
31                    29th Judicial District Court

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 1               P R O C E E D I N G S
 2   THE COURT:
 3           Good afternoon.           This matter has been
 4   assigned the number A-15489, In Re JPSO.
 5           Set today is a hearing on a motion to
 6   quash filed by -- help me out, counsel.
 7   MR. MOST:
 8           Daren and Donna Parsa, the parents of
 9   the deceased.
10   THE COURT:
11               All right.       There we go.
12           Please make appearances.
13   MR. MOST:
14           William Most on behalf of Daren and
15   Donna Parsa.
16   MR. MAUTERER:
17           Good afternoon, Your Honor.           Steve
18   Mauterer on behalf of Greg Champagne, sheriff of
19   St. Charles Parish.
20   MS. VALENTI:
21           Good afternoon, Your Honor.           Lindsey
22   Valenti on behalf of Joseph P. Lopinto, III, in
23   his capacity as sheriff of Jefferson Parish.
24   THE COURT:
25               All right.
26   MS. HASS:
27           Your Honor, Amanda Hass also here on
28   behalf of the Parsas.
29   THE COURT:
30           Okay.     Very good.
31           All right.           I have read the memoranda
32   filed in support of and against the motion to



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 1   quash.      Would you like to make argument?
 2   MR. MOST:
 3            Yes, Your Honor.
 4   THE COURT:
 5            Okay.    Proceed.
 6   MR. MOST:
 7            In brief, Your Honor, on January 19th,
 8   Mr. P        died in the custody of Jefferson
 9   Parish Sheriff's Office in Metairie, on a
10   Sunday, at a laser tag parking lot.      On the
11   21st, the Jefferson Parish Sheriff's Office and
12   the St. Charles Parish Sheriff's Office together
13   obtained a warrant, and the reasons given in the
14   warrant are for pending death investigation and,
15   quote, a generalized law enforcement inspection.
16   And, Your Honor, it is perfectly appropriate,
17   and the parents of Mr. P        have no objection
18   to an investigation into the death of their son.
19               An investigation without probable cause
20   can take many number of forms, including talking
21   to witnesses, obtaining video of the incident,
22   which we understand they have obtained.
23   However, once there is compulsory process in the
24   form of a search warrant or an arrest warrant,
25   both the U.S. Constitution and the Louisiana
26   Constitution and the Code of Criminal Procedure
27   require that there be identified probable cause
28   of a specific crime before a search warrant is
29   proper, and here none was identified.      And
30   through all our communications, they have never
31   suggested that there is a criminal investigation
32   pending, only a death investigation.



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 1              A death is not a crime.   Louisiana law
 2   sets out a process for investigation of deaths
 3   that are not crimes, and that's assigned to the
 4   coroner.     In Revised Statute 13:5713, there's a
 5   whole process by which the coroner may subpoena
 6   documents to obtain information for an
 7   investigation into a death that is not a crime.
 8   However, without probable cause of a specified
 9   crime, it is not proper for a sheriff's office
10   to use a search warrant or an arrest warrant or
11   any other compulsory criminal process as
12   outlined in the Constitution.
13              Beyond that, I'll take any questions
14   Your Honor has.
15   THE COURT:
16               Not yet.
17   MR. MOST:
18              Thank you.
19   THE COURT:
20              Let me hear from either --
21   MR. MAUTERER:
22              Good afternoon, Your Honor.    I do have
23   the original memorandum.     The clerk's office
24   told me downstairs I could file it in open
25   court, but I know the Court has it.
26   THE COURT:
27              Faxed copy is in the record.
28   MR. MAUTERER:
29              Because there's two sheriffs' offices
30   involved, Your Honor, and mainly this is
31   Jefferson Parish's investigation, I'm going to
32   let Ms. Valenti argue about the investigation



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 1   and the search warrant.    But since we were the
 2   ones that were ordered to show cause today --
 3   you know, this is a bizarre circumstances.
 4   THE COURT:
 5           That's why we're here.
 6   MR. MAUTERER:
 7           We could not find any section of the
 8   Code of Criminal Procedure that allows for such
 9   a process for private attorneys and litigants to
10   come into a criminal proceeding that hasn't even
11   been started yet and in somewhat slow down or
12   impede a criminal investigation, you know.
13   Without grounds for it, I don't know how the
14   Court could grant the relief that they're asking
15   this Court to grant.
16   THE COURT:
17           Okay.
18   MR. MAUTERER:
19           Besides there being an absence in the
20   law, in the Code, you know, Judge, as we pointed
21   out in our memorandum, we don't think the
22   parents have standing.    And while it's -- it
23   seems silly in some ways to say the parents of
24   the deceased child doesn't have standing, but
25   the law says once someone has passed away, you
26   have to have a succession representative
27   appointed to file any litigation.
28           I don't know if this is litigation or
29   not, quite honestly, because it's not a civil
30   context and it's unprecedented for the motion
31   that we have.   But if we have to look at it, we
32   have no succession representative appointed by



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 1   any court.    We have a motion filed that has no
 2   support in the law that we could find to allow
 3   for it to be.     And when the Court looks at
 4   whether or not the parents have standing, the
 5   jurisprudence that we cited says that the actual
 6   persons have to have some substantial interest
 7   in litigation.     We don't have litigation.    So
 8   for those reasons, you know, the parents don't
 9   have standing.
10             They also argue in their motion to
11   quash, but not in their arguments today, that
12   for some way or shape or form that the Family
13   Education Relief Act prohibits law enforcement
14   agencies from getting the records from the
15   school.   Well, as we pointed out, the federal
16   statute has a counterpart in the state law.
17   We've cited that.     Both federal law and state
18   law seem to protect personally identifiable
19   information, which is, as pointed out in the
20   statutes, the name, address, Social Security
21   numbers, things that both law enforcement
22   agencies already possess.     It doesn't seem
23   applicable.     And even if it was, there's
24   exceptions for law enforcement investigation
25   subpoenas, i.e., a search warrant.
26             So for those reasons, we don't think
27   this is procedurally proper.     We don't think
28   there's standing.     We don't think there's any
29   protection under the federal statute or the
30   state equivalent to shield our criminal
31   investigative search warrant.     But for those
32   reasons, I'm going to turn it over to



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 1   Ms. Valenti to argue about the merits of the
 2   search warrant.
 3   THE COURT:
 4              Thank you.
 5   MS. VALENTI:
 6              Good afternoon again, Judge.   Just
 7   picking up where Mr. Mauterer had left off,
 8   opposing counsel in their motion consistently
 9   argues that there is an invasion of privacy and
10   that the parents have the standing to defend
11   that privacy.     However, as Your Honor is aware,
12   that right to privacy does not survive the death
13   of an individual, and those rights are not
14   assignable.
15              Additionally, in their motion they cite
16   that any person adversely affected has standing
17   to challenge the illegality of the search
18   warrant.     However, they don't articulate any
19   reasons or identify any ways they've been
20   adversely affected for a sheriff's office to
21   investigate the circumstances that led to their
22   son's death.
23              Specifically addressing the argument
24   that there's no probable cause or that the
25   substance of the affidavit and application and
26   the search warrant itself was not sufficient, as
27   you're aware, the documents submitted set forth
28   the place to be searched, which was Destrehan
29   High School.     It listed the documents and the
30   evidence to be seized, and the lawful reason for
31   the search was to obtain evidence to aid in the
32   determination of the circumstances that led to



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 1   the death.
 2            We -- when the sheriff's office jointly
 3   applied for this search warrant, which was
 4   subsequently granted, the Jefferson Parish
 5   Sheriff's Office is and has been conducting a
 6   police investigation.    This death so far, since
 7   the coroner has not identified the cause and
 8   manner of death, is considered unclassified.
 9           The Jefferson Parish Sheriff's Office
10   routinely investigates unclassified death until
11   such time that the coroner determines whether or
12   not it's obviously a homicide, a suicide, or a
13   natural cause death.    And just by virtue of
14   there not being a determination doesn't prohibit
15   the sheriff from collecting any evidence.
16   Obviously, time is of the essence in collecting
17   that evidence:   speaking to witnesses,
18   collecting readily available evidence, and any
19   information regarding factors that may have
20   contributed to his death.
21            As mentioned in our memorandum in
22   opposition to the motion to quash, it's the
23   practice of the Jefferson Parish Sheriff's
24   Office to refer any and all in-custody deaths to
25   the District Attorney for review.
26            Counsel has identified that it was, in
27   fact, an in-custody death.    By virtue of that
28   alone would be sufficient reason for us to be
29   able to continue with our investigation.     And
30   asking us to wait days, weeks, or months to
31   start collecting this information that
32   ultimately had to be turned over to the office



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 1   of the District Attorney is unreasonable.
 2            The coroner, like I mentioned, did not
 3   make a determination, and additional tests are
 4   being performed with no expectation of a time
 5   frame for when that might be completed and
 6   results provided.
 7           Again, as it relates to this case, the
 8   review of the school records is important to
 9   establish behavioral patterns and school
10   protocols as it relates to the deceased minor.
11   You know, again, as I mentioned, the Court
12   should be aware that while on scene and again in
13   a subsequent interview, his mother has sought to
14   downplay the extent of her son's condition, and,
15   as a result, the Jefferson Parish Sheriff's
16   Office believes that there's material evidence
17   in these records sought from the high school
18   that are directly relative to this
19   investigation.
20            And lastly, I just want to mention, I
21   know that counsel has pointed to Revised Statute
22   13:5713 and suggesting that that places the sole
23   responsibility of an investigation into a death
24   into the hands of the coroner.   I don't believe
25   that that's what the statute is suggesting.     I
26   think it outlines the duties of the coroner and
27   suggests or requires the coroner in certain
28   circumstances to perform those duties.     It
29   doesn't give him the sole responsibility, and it
30   certainly doesn't prohibit the sheriff from
31   conducting a contemporaneous law enforcement
32   investigation.



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 1               So for all of the reasons stated in our
 2   motion and today in court jointly with the
 3   St. Charles Parish Sheriff's Office, we ask this
 4   Honorable Court to lift the stay and deny the
 5   motion to quash the search warrant.
 6   THE COURT:
 7              All right.
 8   MS. VALENTI:
 9               Thank you.
10   MR. MOST:
11              Your Honor, could I briefly respond?
12   THE COURT:
13              Yes, absolutely.
14   MR. MOST:
15              I'll take the issues one by one, just
16   briefly:     procedure, the privacy issue and
17   standing issue, and then the investigation
18   issue.
19               Regarding procedure, there is a
20   procedure.     So Code of Criminal Procedure
21   Section 531 allows for motions to quash, in
22   broad language, for any defense prior to trial
23   aside from a guilty plea or not guilty plea.
24   And so courts have allowed for a motion to
25   quash, to quash a search warrant, prior or even
26   in the absence of a criminal proceeding.        One
27   such case is In Re Matter Under Investigation ,
28   which is 178 So.3d 317.       And that was a case in
29   which the Court of Appeal, the Third Circuit,
30   upheld a trial court quashing of the search
31   warrant and returning of seized items even in
32   the absence of a criminal proceeding.       So there



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 1   is precedent for this.    This is a procedure.
 2             Second, with regard to standing,
 3   Article 1, Section 5 of the Louisiana
 4   Constitution says that any party adversely
 5   affected has standing to challenge process.       And
 6   the U.S. Supreme Court in National Archives v.
 7   Favish , which is 541 U.S. 157, articulated that
 8   family members themselves have a privacy
 9   interest in information about their deceased
10   relatives.    I think this is something we can all
11   understand.    If your child dies, it's not just
12   the child's privacy that is invaded by
13   publication of information about that child, but
14   it's your own privacy as well, and the U.S.
15   Supreme Court identified that.     And so under
16   Louisiana Constitution, the parents do have
17   standing, even in the absence of a succession
18   representative, because it is their own privacy
19   that's being invaded.
20              And, finally, with regard to
21   investigation, we are absolutely not asking this
22   Court to stop any investigation.     We are not
23   saying the sheriff's office can't investigate
24   this death.    We're just saying they cannot use
25   the compulsory process of a search warrant to do
26   so.   So they are 100 percent welcome, and the
27   family encourages them, wants them, to
28   investigate the death of their son, but they
29   don't think that the -- their son's grades or
30   his school records should be compelled in the
31   absence of probable cause that a crime was
32   committed, and nothing here we've heard today



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 1   suggests that a crime was committed or
 2   alleged.
 3              Thank you.
 4   THE COURT:
 5              Okay.   What has been presented to the
 6   Court over the last couple of weeks was not the
 7   run-of-the-mill request for a search warrant or
 8   arrest warrant.     However, on close examination
 9   of the affidavit of probable cause, the Court
10   found that the death of a human being under
11   circumstances where someone else could be
12   culpable -- or someone could be culpable for
13   that death rises to the level of criminal
14   acts.   And given what was described in the
15   affidavit of probable cause, the Court found a
16   connexity between that statement and the
17   information sought in the warrant.
18              I granted this -- I set this for
19   hearing because of the unusual presentation of
20   this case.     I wanted to make sure that I hadn't
21   overlooked something in granting the warrant,
22   and the Court is satisfied that the warrant was
23   properly issued.
24              The motion to quash is denied.        The
25   stay is lifted.
26   MR. MOST:
27               Thank you, Your Honor.
28   MR. MAUTERER:
29              Thank you, Your Honor.
30   THE COURT:
31              Thank you.        Prepare an order to that
32   effect, counsel, for --



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 1   MR. MAUTERER:
 2              Yes, Your Honor.
 3   THE COURT:
 4              Thank you.
 5   MR. MAUTERER:
 6              Just for clarity, Judge, the original
 7   doesn't need to be filed?       The one that's in the
 8   record is sufficient for the Court or --
 9   THE COURT:
10              The memo?
11   MR. MAUTERER:
12              Memo.
13   THE COURT:
14              File the original.
15   MR. MAUTERER:
16               I don't want to walk off with it and
17   then --
18   THE COURT:
19               No, you don't want to do that, because
20   the record needs to be complete.
21               Thank you, counsel.   Y'all have a good
22   day.
23   (Whereupon, the matter was concluded.)
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 1                    REPORTER'S CERTIFICATE
 2   PARISH OF ST. CHARLES
 3   STATE OF LOUISIANA
 4             This certificate is valid only for a transcript
 5   accompanied by my original signature and original
 6   required seal on this page.
 7             I, Wanda Vice-Loupe, CCR, Official Court
 8   Reporter, in and for the State of Louisiana, employed as
 9   an official court reporter by the Twenty-Ninth Judicial
10   District Court for the State of Louisiana, as the officer
11   before whom this proceeding and/or testimony was taken,
12   do hereby certify that this proceeding and/or testimony
13   was reported by me in steno-type shorthand reporting, was
14   prepared and transcribed by me or under my personal
15   direction and supervision, on the 6th day of February
16   2020, and is a true and accurate transcript to the best
17   of my ability and understanding; that the transcript has
18   been prepared in compliance with transcript format
19   guidelines required by statute or by rules of the board
20   or by the Supreme Court of Louisiana; and that I am not
21   of counsel nor related to counsel or the parties herein,
22   nor am I in any way interested in the outcome of this
23   matter.
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                          ___________________________________
29                        WANDA VICE-LOUPE, CCR
                          OFFICIAL COURT REPORTER, #88010
30                        29TH JUDICIAL DISTRICT COURT
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